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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 OCALA DIVISION

CHRISTOPHER BREARLEY,

   Plaintiff,

-vs-                                            CASE NO.: 5:14-CV-00625-MMH-PRL

JPMORGAN CHASE BANK, N.A.,

   Defendant.
                                    /

                             NOTICE OF PENDING SETTLEMENT

         Plaintiff, CHRISTOPHER BREARLEY, by and through his undersigned counsel, hereby

notifies the Court that the parties, Plaintiff, CHRISTOPHER BREARLEY, and Defendant, JP

MORGAN CHASE BANK, N.A., have reached a settlement with regard to this case, and are

presently drafting, and finalizing the settlement agreement, and general release documents.

Upon execution of the same, the parties will file the appropriate dismissal documents with the

Court.



                                                  /s/ Amanda J. Allen___________
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                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 16th day of April, 2015, the foregoing document

was filed electronically in accordance with the Court’s guidelines, using the Court’s CM/ECF

system; and, a copy of which was served via electronic mail to all parties requesting notification

of such filings, and of which are listed below:

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